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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-1152V
                                      Filed: July 24, 2019
                                        UNPUBLISHED


    CARMEN MURILLO,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU); Joint
                                                             Stipulation on Damages; Influenza
    SECRETARY OF HEALTH AND                                  (Flu) Vaccine; Shoulder Injuries;
    HUMAN SERVICES,                                          Adhesive Capsulitis

                       Respondent.


Daniel R. Seidman, Seidman Margulis & Fairman, LLP, Belleville, IL, for petitioner.
Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On August 25, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered injuries to her left shoulder,
including adhesive capsulitis, as a result of an October 18, 2015 influenza (“flu”)
vaccination. Petition at 1; Stipulation, filed July 24, 2019, at ¶¶ 1-4. Petitioner further
alleges that the vaccine was administered within the United States, that she suffered the
residual effects of this injury for more than six months, and that there has been no prior
award or settlement of a civil action for damages on her behalf as a result of her alleged
vaccine injury. Petition at 1-8; Stipulation at ¶¶ 3-5. “Respondent denies that petitioner
sustained adhesive capsulitis or any other injury or her current condition as a result of


1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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the vaccine, and further denies that petitioner sustained a Table injury. ” Stipulation at
¶ 6.

        Nevertheless, on July 24, 2019, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $35,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                   IN THE UNITED STATES COURT OF FEDERAL. CLAIMS
                             OFFICE OF SPECIAL MASTERS

CARMEN MURILLO,                                 )
                                                )
                Petitioner,                     )      No. t7-t152V
                                                )      Chief Special Master
        V.                                      )      Nora Beth Dorsey/SPU
                                                )      ECF
SECRETARY OF HEALTH                             )
AND HUMAN SERVICES,                            )
                                               }
                Respondent.                    )


                                           STIPULATION

        The parties hereby stipulate to the following matters:

        I. Carmen Murillo, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § I00.3(a).

       2. Petitioner received a flu vaccine on or about October 18, 2015.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered injuries including adhesive capsulitis that were

caused in fact by the flu vaccine. Alternatively, petitioner alleges that she sustained a Table

injury resulting in adhesive capsulitis. Petitioner further alleges that she suffered the residual

effects of this injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her alleged vaccine injury.
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        6. Respondent denies that petitioner sustained adhesive capsulitis or any other injury or

her current cor1dition as a result of the vaccine, and further denies that petitioner sustained a

Table injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry ofjudgment reflecting a decision consistent whh

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(I), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

                A lump sum of $35,000.00 in the form of a check payable to petitioner.
                This amount represents compensation for all damages that would be available
                under 42 U.S.C. § 300aa-l S(a).

        9. As soon as practicable after the entry ofjudgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2 t (a)(I ). and an application, the parties wiJI submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        I0. Petitioner and her attorney represent that they have identified to respondent al I known

sources of payment for items or services for which the Program is not primarily liable under 42

U.S.C. § 300aa-15(g), Including State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C§ 1396

et seq.)}, or entities that provide health services on a pre-paid basis.

        11 . Payment made pursuant to paragraph 8 and any amounts awarded pursuant to
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paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-l 5(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney's fees and litigation costs, the money provided pursuant to this Stipulation will be

used solely for the benefit of petitioner as contemplated by a strict construction of 42 U.S.C. §

300aa-15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa- lO et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on October 18, 2015, as

alleged by petitioner in a petition for vaccine compensation filed on or about August 25, 2017, in

the United States Court of Federal Claims as petition No. I 7-1152V.

        14. If petitioner shou ld die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'
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settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties furthe~ agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's adhesive

capsulitis or any other injury or her current condition.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION


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 Respectfully submitted,




  ATTORNEY OF RECORD FOR                        AUTHORIZED REPRESENTATIVE
  PETJTlONER:                                   OF THE ATTORNEY GENtRAL:



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